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 REPORTERS COMMITTEE
 FOR FREEDOM OF THE PRESS,
                        Plaintiff,
                                                              Case 1:17-cv-01701-RC
                v.
 FEDERAL BUREAU
 OF INVESTIGATION, et al.,
                        Defendants.


                                JOINT STATUS REPORT

       Plaintiff, Reporters Committee for Freedom of the Press, and Defendants, the Federal

Bureau of Investigation (“FBI”) and the United States Department of Justice, submit this joint

status report in response to the Court’s minute order dated January 23, 2018.

       1.      On August 21, 2017, Plaintiff filed a complaint alleging that Defendants had

violated the Freedom of Information Act (“FOIA”) by failing to respond to its eight-part request

for certain records related to the FBI’s impersonation of documentary filmmakers and film crews.

[ECF No. 1, ¶ 2.] Defendants filed an answer on September 25, 2017. [ECF No. 8.] Later on

September 25, the Court issued a minute order directing the parties to “meet, confer, and submit a

proposed briefing schedule on or before October 10, 2017.”

       2.      In their October 10, 2017, status report, the parties stated that the FBI was still

completing its searches for records responsive to Plaintiff’s request and expected to complete those

searches within the next 30 days. In a November 22, 2017, status report the FBI stated that the

process had been more complicated than anticipated due, in part, to some of the potentially

responsive records being located in the case files of an ongoing criminal litigation in Las Vegas,

Nevada: United States v. Bundy, et al., No. 16-cr-00046 (D. Nev.). In a January 23, 2018, status
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report, the FBI reported that it had arranged for personnel from its headquarters office to travel to

Las Vegas, Nevada on January 21, 2018, to collect documents from the case files of the ongoing

criminal litigation, copy them, and send them back to headquarters to be reviewed for

responsiveness to Plaintiff’s FOIA request. On January 20, 2018, however, the appropriations to

the FBI and Department of Justice lapsed, and the travel had to be cancelled. The Bundy case was

dismissed on January 8, 2018. See Judgment of Dismissal, United States v. Bundy, et al., No. 16-

cr-00046 (D. Nev.), ECF No. 3117. Thereafter, staff in Las Vegas, Nevada began copying and

sending the case-file materials to headquarters.

       3.      Since the last status report, the FBI has made what it believes to be a final release

of records responsive to item 8 of Plaintiff’s request. It has also collected potentially responsive

records for other items in the request, but it estimates that it would take approximately 13 years to

review those documents for responsiveness and to determine whether any part of them is exempt

from release. The parties have agreed to continue to meet and confer and propose to file another

joint status report in 32 days, on or before Monday, April 9, 2018, updating the Court on the status

of their discussions.

 Respectfully Submitted,                               Respectfully Submitted,
 THE REPORTERS COMMITTEE FOR                           JESSIE K. LIU, D.C. Bar #472845
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 Dated: March 8, 2018                                  Counsel for Defendants


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